                                                                          SCHEDULE 1

 UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                       (SAN FRANCISCO DIVISION)
                    Fill in this information to identify the case
                     (Select only one Debtor per claim form):

   PG&E Corporation
      (Case No. 19-_____)
   Pacific Gas and Electric Company
      (Case No. 19-_____)

 Proof of 503(b)(9) Claim
 Read the instructions before filling out this form. This form is for asserting claims entitled to administrative priority pursuant to 11 U.S.C. §
 503(b)(9) against one of the above Debtors arising on or after January __, 2019 through and including January __, 2019. Do not use this form
 to assert any other pre-petition claim(s). Assert such claims on Form 410.
 11 U.S.C. § 503(b)(9) applies only to claims arising from the value of any goods received by the applicable Debtor within 20 days before the date of
 commencement of the above case, in which the goods have been sold to the applicable Debtor in the ordinary course of the Debtor's business.
 Attach documentation supporting such claim.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of
 any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts,
 contracts, judgments, mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the
 documents are not available, explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed.

 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been          No
   acquired from
   someone else?                Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
   Federal Rule of             Name                                                                            Name
   Bankruptcy Procedure
   (FRBP) 2002(g)
                               Number          Street                                                          Number          Street


                               City                               State                   ZIP Code             City                          State                 ZIP Code

                               Contact phone                                                                   Contact phone

                               Contact email                                                                   Contact email




4. Does this claim amend        No
   one already filed?           Yes. Claim number on court claims registry (if known)                                                  Filed on
                                                                                                                                                     MM   / DD   / YYYY



5. Do you know if anyone        No
   else has filed a proof       Yes. Who made the earlier filing?
   of claim for this claim?

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                                                                          Proof of
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 Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. On what date (or dates)
   were the goods
   delivered? (if known)                                             (mm/dd/yyyy)



7. How much is the claim?
                                        $
                                 Note: 11 U.S.C. § 503(b)(9) applies only to claims arising from the value of any goods received by the Debtor within 20
                                 days before the date of commencement of the above case, in which the goods have been sold to the Debtor in the
                                 ordinary course of the Debtor's business. Do not include in the above amount the value of goods received by the
                                 Debtor outside of that period, or the value of any other services performed. Assert such claims on Form 410.

8. What is the description
   of the goods provided
   in the claim?




 Part 3:    Sign Below

 The person completing          Check the appropriate box:
 this proof of claim must
 sign and date it.                     I am the creditor.
 FRBP 9011(b).                         I am the creditor’s attorney or authorized agent.
 If you file this claim                I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature    amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.
                                I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 A person who files a           and correct.
 fraudulent claim could be
 fined up to $500,000,          I declare under penalty of perjury that the foregoing is true and correct.
 imprisoned for up to 5
 years, or both.                Executed on date                                 (mm/dd/yyyy)
 18 U.S.C. §§ 152, 157, and
 3571.


                                        Signature
                                Print the name of the person who is completing and signing this claim:


                                Name
                                                      First name                           Middle name                            Last name

                                Title

                                Company
                                                      Identify the corporate servicer as the company if the authorized agent is a servicer.



                                Address
                                                      Number            Street


                                                      City                                                         State          ZIP Code

                                Contact phone                                                                      Email




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